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UNITED STATES DISTRICT COURT PE ay
MIDDLE DISTRICT OF FLORIDA pant
TAMPA DIVISION .
ELIZABETH POLANCO,
Plaintiff, Case No.: 8;) Gov wf | 3G C ey

Vv.

OCWEN LOAN SERVICING, LLC,
a foreign limited liability company,

Defendant.
/

 

COMPLAINT AND JURY DEMAND

COMES NOW the Plaintiff, Elizabeth Polanco, by and through the undersigned
counsel, hereby sues Defendant, Ocwen Loan Servicing, LLC. In support thereof, Plaintiff
states:

INTRODUCTION

This action arises out of the facts and circumstances surrounding the collection of
an alleged consumer debt. Plaintiff brings the action for statutory damages and actual
damages against the Defendant, as well as attorney’s fees and the costs of litigation for the
Defendant’s violations of the Florida Consumer Collection Practices Act, Title XX XIII,
Chapter 559, Part VI, Florida Statutes (“FCCPA”), and violations of the Telephone
Consumer Practices Act, 47 U.S.C. § 227 et seq. (“TCPA”). These laws prevent creditors
and debt collectors from inter alia, engaging in abusive, unfair and deceptive debt
collection practices, as well as regulate the type of telephone equipment organizations may

use to contact consumers for debt collection purposes.
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JURISDICTION, VENUE & PARTIES

1. Jurisdiction of this Court arises under 28 United States Code, Section 1331,
as well as pursuant to the TCPA, 47 United States Code, Section 227 et seg. Supplemental
jurisdiction exists for the FCCPA claims pursuant to 28 United States Code, Section 1367.

2. Defendant is subject to the jurisdiction of this Court as Defendant regularly
transacts business in this District and the events described herein occurred in this District.

3. Venue is proper in this District as the acts and transactions described herein
occur in this District.

4, At all material times herein, Plaintiff is a natural person residing in Manatee
County, Florida.

5. At all material times herein, Ocwen Loan Servicing, LLC is a foreign
limited liability company existing under the laws of the state of Delaware, with its principal
place of business located at 1661 Worthington Road, Suite 100, West Palm Beach, Florida
33409.

GENERAL ALLEGATIONS

6. Plaintiff, Elizabeth Polanco, is an individual, a natural person and a
“consumer” who is alleged to owe a debt to Ocwen Loan Servicing, LLC.

7. Plaintiff Elizabeth Polanco (“Plaintiff’ or “Polanco”) has been the object
of collection activity arising from a “consumer debt” as defined by Fla. Stat. § 559.55(6)

and 15 U.S.C. § 1692a(5).
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8. The Defendant, Ocwen Loan Servicing, LLC (“Ocwen” or “Defendant”),
itself and through its affiliates, regularly attempts to collect debts, including but not limited
to, alleged balances due from Plaintiff on a mortgage loan.

9. Defendant is engaged in the collection of consumer debts using the
telephone, the U.S. Mail, and all other means at its disposal.

10. Ocwen is a “consumer collection agency” within the definition established
by the FCCPA, Fla. Stat. § 559.55(3) in that it is a business entity engaged in the business
of soliciting consumer debts for collection or of collecting consumer debts.

11, At all times herein, Ocwen was a “person” as defined by Section 559.55,
Fla. Stat. See Schauer v. General Motors Acceptance Corp., 819 So. 2d 809 (Fla. 4° DCA
2002).

12. At all times herein, Ocwen either acted on its own accord, or through its
agents, employees, officers, members, directors, successors, assigns, principals, trustees,
sureties, subrogees, representatives and insurers.

13. At all material times herein, Ocwen is a “debt collector” as defined by
Florida Statutes, Section 559.55(7).

14. At all times material herein, Ocwen’s conduct with regard to the debt,
complained of below, qualifies as “communication” as defined by Fla. Stat. § 559.55(2)
and 15 U.S.C. § 1692(a)(2).

15. At all times material herein, Ocwen used, controlled, and/or operated
“automatic telephone dialing systems” as defined by the TCPA 47 U.S.C. § 227(a)(1) and 47

C.F.R. 64.1200(f)(1); which has the capacity to store or produce telephone numbers to be
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called, using a random or sequential number generator to dial such numbers, including a
predictive dialer.
FACTUAL ALLEGATIONS

16. On July 26, 2005, a Mortgage was recorded against Polanco’s real estate
property by virtue of a promissory note dated July 22, 2005 (the “Debt”).

17. The Debt was incurred primarily for personal, household or family use.
More specifically, the Debt was used to obtain Polanco’s residence.

18. Thereafter, in 2009 Polanco experienced financial difficulties and Ocwen
treated the debt as a defaulted debt.

19. On or about July 21, 2017, Ocwen initiated a foreclosure action against
Polanco styled Deutsche Bank National Trust Company, as Indenture Trustee under the
Indenture Relating to IMH Assets Corp., Collateralized Asset-Backed Bonds, Series 2005-
7 v. Polanco, et al., Case No. 2017-CA-03238 (Twelfth Judicial Circuit, Manatee County,
Florida) (the “Debt Collection Action”).

20. The complaint filed in the Debt Collection Action requested the state court
to (1) determine the amounts due under the promissory note and mortgage; (ii) order the
clerk to sell the property; and (iii) retain jurisdiction in order to enter a deficiency judgment
if the proceeds of the sale are insufficient to cover the amount due.

21. ‘The verification of the Complaint in the Debt Collection Action reads:

OCWEN LOAN SERVICING, LLC, as
Attorney in Fact for DEUTSCHE BANK
NATIONAL TRUST COMPANY, AS

INDENTURE TRUSTEE UNDER THE
INDENTURE RELATING TO IMH
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ASSETS CORP., COLLATERALIZED
ASSET-BACKED BONDS, SERIES 2005-7

22. The verification of the Complaint in the Debt Collection Action is signed
by a Contract Management Coordinator of Ocwen, acknowledging its status as both agent
and attorney in fact for Deutsche Bank.

23. Since at least July 2017, Ocwen has been prosecuting the Debt Collection
Action as attorney in fact and agent for Deutsche Bank.

24. Shortly, thereafter, Polanco retained legal counsel, Andrew Lyons, Esq., to
represent her with respect to the debt and defend the foreclosure action and related debt
collection.

25. On or about August 16, 2017, Andrew Lyons, Esq., filed his appearance as
counsel on behalf of Polanco with the relevant court and Ocwen’s counsel.

26. Polanco has been continuously represented by legal counsel with respect to
the Debt from at least August 16, 2017 to the present, and Defendant has always been
aware of Polanco’s representation by counsel during this period.

27. | Onor about May 2, 2018, Polanco entered into a Stipulation as to Entry of
Final Judgment in Mortgage Foreclosure (‘Stipulation’). The Stipulation specifically
agreed to waive any right to seek a deficiency judgment against Polanco in the Debt
Collection Action. A true and correct copy of the Stipulation is attached hereto as Exhibit
“A”

28. Notwithstanding Polanco having retained counsel and Ocwen having
knowledge of this circumstance; and having waived any claim to a deficiency judgement

with respect to the alleged Debt; Ocwen on behalf of Deutsche Bank, contacted Polanco
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indirectly on multiple occasions for the purposes of collecting on the alleged consumer
debt.

29. On June 18, 2018, Ocwen contacted Polanco directly for the purposes of
collecting on the Debt via mail, by requesting that Polanco pay a certain amount of money
by a date certain.

30. The immediately aforementioned communication indicated a “Total
Amount Due” of $84,237.20 and “Reinstatement amount” of $10,656.16, thereby
misrepresenting that Polanco owed any amount toward the alleged Debt which was waived
by virtue of the Stipulation.

31. The immediately aforementioned communication further asserted the right
to assess and collect late fees in the amount of $25.36 if payment was received after July
16, 2018.

32. By charging or threatening to charge a late fee on a debt which has been
accelerated since July 2017; Ocwen is claiming, attempting or threatening to assert the
existence of a legal right to charge late fees on an accelerated consumer debt when Ocwen
has knowledged that such right does not exist.

33. The immediately aforementioned communication further claimed or
threatened that ‘any additional fees and expenses that post to the account after the statement
date, must still be paid;” asserting the existence of a legal right to charge additional fees
and expenses on an accelerated, waived Debt, when Ocwen has knowledge that such right
does not exist.

34. On June 18, 2018, Ocwen contacted Polanco directly for the purposes of
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collecting on the Debt via mail, by sending Polanco a communication requesting Polanco
to schedule an appointment with a “Relationship Manager.” The communication provided
a toll-free number and hours during which to call.

35. The immediately aforementioned communication further indicated that
“{t]his communication is from a debt collector attempting to collect a debt; any information
obtained will be used for that purpose.”

36. | Onor about June 21, 2018, the court entered its Uniform Final Judgment of
Mortgage Foreclosure. The Final Judgment ordered that the judgment amount accrue
interest at the rate of 5.72% per year.

37. On October 9, 2018, a Certificate of Title was issued with respect to the
property that secured the waived Debt.

38. Notwithstanding Ocwen’s actual knowledge of Polanco having retained
legal counsel with respect to the Debt; the waiver of any right to seek a deficiency with
respect to the Debt; and the sale of the property securing the Debt; Ocwen contacted
Polanco directly via her cellular telephone on multiple occasions for the purposes of
collecting on the alleged consumer debt.

39, Polanco is the owner, regular user, and possessor of cellular telephone
number 941- XXX-6063 (hereinafter, “Cellular Telephone’).

40. Ocwen, and its representatives, agents, employees, or assigns have
telephoned Polanco’s Cellular Telephone on numerous occasions for the purposes of
collecting on the alleged Debt, in violation of the TCPA, 47 U.S.C. § 227 et seq., and Florida

Consumer Practices Act, Fla. Stat. § 559.72(7), § 559.72(9) and § 559.72(18).
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41. | Atno time herein did Ocwen have prior express consent to contact Polanco
on her Cellular Telephone using an automated dialing system or artificial pre-recorded
voice.

42.  Ocwen, its representatives, agents, employees or assigns have made calls to
Polanco’s Cellular Telephone on numerous occasions for purposes of collecting on the
Debt without the appropriate consent and despite possessing knowledge that Polanco was
represented by counsel with regard to the Debt and Polanco no longer owed the Debt.

43. | Ocwen repeatedly used an automatic telephone dialing system to call
Polanco’s Cellular Telephone in an attempt to collect on the alleged Debt, and without
Polanco’s prior express consent.

44. At all times material hereto, to the extent Ocwen contends that it had
consent to contact Polanco on her Cellular Telephone, any such consent was revoked for
Ocwen to make autodialed Debt collection calls the moment (i) Ocwen was advised of
Polanco’s legal representation with respect to the Debt; (ii) when Polanco requested in
writing that all direct communications and calls cease and be sent to legal counsel, (iii)
when Polanco sued Ocwen for prior similar bad acts; and (iv) when Polanco settled any
personal obligation to pay the alleged Debt.

45. | Notwithstanding Polanco having retained legal counsel with respect to the
Debt and Ocwen having notice of the same, having received a specific request to cease and
desist all communications, having waived the Debt, and having been previously sued by

Polanco for similar bad acts, Ocwen has willfully and knowingly continued to contact
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Polanco directly and on multiple occasions, using an automatic telephone dialing system
to make calls to her Cellular Telephone in an attempt to collect the illegitimate Debt.

46. Onor about October 26, 2018, Ocwen’s employee or representative called
Polanco directly, on her Cellular Telephone using an automated dialing system in an
attempt to collect the Debt. Ocwen placed the phone call from telephone number 800-746-
2936.

47. Polanco received a pre-recorded voicemail from the aforementioned call
from Ocwen. The voicemail indicated that the caller was looking to speak with Polanco
regarding a Debt and advised her to call back 800-746-2936. Such messages are indicative
of the use of an automatic telephone dialing system.

48. On October 30, 2018, Ocwen’s employee or representative called Polanco
directly on her Cellular Telephone using an automated dialing system in an attempt to
collect the Debt. Ocwen placed the phone call from telephone number 800-746-2936.

49. Polanco received a pre-recorded voicemail from the aforementioned call
from Ocwen. The voicemail indicated that the caller was looking to speak with Polanco
regarding a debt and advised her to call back 800-746-2936.

50. | On November 2, 2018, Ocwen’s employee or representative called Polanco
directly on her Cellular Telephone using an automated dialing system in an attempt to
collect the Debt. Ocwen placed the phone call from telephone number 800-746-2936.

51. Polanco received a pre-recorded voicemail from the aforementioned call
from Ocwen. The voicemail indicated that the caller was looking to speak with Polanco

regarding a debt and advised her to call back 800-746-2936.
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52. | On November 7, 2018, Ocwen’s employee or representative called Polanco
directly on her Cellular Telephone using an automated dialing system in an attempt to
collect the Debt. Ocwen placed the phone call from telephone number 800-746-2936.

53. Polanco received a pre-recorded voicemail from the aforementioned call
from Ocwen. The voicemail indicated that the caller was looking to speak with Polanco
regarding a debt and advised her to call back 800-746-2936.

54. | On November 9, 2018, Ocwen’s employee or representative called Polanco
directly on her Cellular Telephone, no less than two times, using an automated dialing
system in an attempt to collect the Debt. Ocwen placed the phone call from telephone
number 800-746-2936.

55. Polanco received pre-recorded voicemails from the aforementioned calls
from Ocwen. The voicemails indicated that the caller was looking to speak with Polanco
regarding a debt and advised her to call back 800-746-2936.

56. On November 13, 2018, Ocwen’s employee or representative called
Polanco directly on her Cellular Telephone using an automated dialing system in an attempt
to collect the Debt. Ocwen placed the phone call from telephone number 800-746-2936.

57. Polanco received a pre-recorded voicemail from the aforementioned call
from Ocwen. The voicemail indicated that the caller was looking to speak with Polanco
regarding a debt and advised her to call back 800-746-2936.

58. On November 16, 2018, Ocwen’s employee or representative called

Polanco directly on her Cellular Telephone, no less than two times, using an automated

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dialing system in an attempt to collect the Debt. Ocwen placed the phone calls from
telephone number 800-746-2936.

59. Polanco received pre-recorded voicemails from the aforementioned calls
from Ocwen. The voicemails indicated that the caller was looking to speak with Polanco
regarding a debt and advised her to call back 800-746-2936.

60. On November 21, 2018, Ocwen’s employee or representative called
Polanco directly on her Cellular Telephone using an automated dialing system in an attempt
to collect the Debt. Ocwen placed the phone call from telephone number 800-746-2936.

61. Polanco received a pre-recorded voicemail from the aforementioned call
from Ocwen. The voicemail indicated that the caller was looking to speak with Polanco
regarding a debt and advised her to call back 800-746-2936.

62. On November 26, 2018, Ocwen’s employee or representative called
Polanco directly on her Cellular Telephone, no less than two times, using an automated
dialing system in an attempt to collect the Debt. Ocwen placed the phone call from
telephone number 800-746-2936.

63. Polanco received pre-recorded voicemails from the aforementioned calls
from Ocwen. The voicemails indicated that the caller was looking to speak with Polanco
regarding a debt and advised her to call back 800-746-2936.

64. On November 29, 2018, Ocwen’s employee or representative called
Polanco directly on her Cellular Telephone using an automated dialing system in an attempt

to collect the Debt. Ocwen placed the phone call from telephone number 800-746-2936.

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65. Polanco received a pre-recorded voicemail from the aforementioned call
from Ocwen. The voicemail indicated that the caller was looking to speak with Polanco
regarding a debt and advised her to call back 800-746-2936.

66. This is merely a sampling of the calls Polanco received, as Polanco has not
been able to record the specifics of each and every call Ocwen made to Polanco due to her
work and personal commitments, as well as the continued and increasing stress associated
with the barrage of harassing debt collection calls.

67. | Thecharacteristics of the immediately aforementioned phone calls indicates
Ocwen used an automatic telephone dialing system to place telephone calls each time that
it called Polanco’s Cellular Telephone.

68. As a result of Ocwen’s actions, Polanco suffered emotional distress,
anxiety, inconvenience, frustration, annoyance, and confusion, believing that despite the
Debt having been waived, she must continue to endure Ocwen’s unlawful continued debt
collection attempts.

69. | Ocwen has contacted Polanco on her Cellular Telephones no less than 14
times without Polanco’s prior express consent and by mail on no less than 2 occasions for
the purposes of collecting on the alleged Debt and in direct contravention of Ocwen’s
knowledge of Polanco’s representation by legal counsel and waiver of the Debt.

70. | The aforementioned conduct by Ocwen has harassed or could be reasonably
expected to harass or abuse Polanco by willfully communicating with Polanco frequently
and regularly despite actual knowledge of Polanco’s representation by legal counsel, and

despite the waiver of the alleged Debt.

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71. | Ocwen’s communications continued after the parties had already negotiated
a waiver of the Debt and Certificate of Title issued, which could only have been intended
to exhaust Polanco’s will. The FCCPA, Section 559.77, provides for the award of up to
$1,000 statutory damages, actual damages, punitive damages, as well as an award of
attorneys’ fees and costs to Plaintiff, should Plaintiff prevail in this matter against Ocwen.

72. United States Code, Title 47, Section 227(b)(3) provides for the award of
$500.00 or actual damages, whichever is greater, for each telephone call made using any
automatic telephone dialing system, a predictive telephone dialing system, or an artificial
or pre-recorded voice to Plaintiff's cellular telephone in violation of the TCPA of the
regulations proscribed thereunder.

73. Additionally, the TCPA Section 227(b)(3) allows the trial court to increase
the damages up to three times, or $1,500.00, for each telephone call made using any
automatic telephone dialing system, predictive telephone dialing system, or artificial or
prerecorded voice to Plaintiff's Cellular Telephone in willful or knowing violation of the
TCPA or the regulations proscribed thereunder.

74. At all material times herein, it would have been possible for Defendant to
avoid violating the terms of the FCCPA and the TCPA.

75. Upon information and belief, based upon the aforementioned allegations,
Defendants’ telephone calls made to Plaintiff's Cellular Telephone using an automatic
dialing system, a predictive telephone dialing system, or an artificial or pre-recorded voice

were made in willful and knowing violation of the TCPA.

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76. All conditions precedent to the filing of the action have been completed or
have been waived.

COUNT ONE:
UNLAWFUL DEBT COLLECTION PRACTICE—

VIOLATION OF FLORIDA STATUTES, SECTION 559.72(7)

Plaintiff re-alleges paragraphs one (1) through seventy-six (76) as if fully restated
herein and further states as follows:

77. | Ocwen is subject to, and has violated the provisions of, Florida Statutes,
Section 559.55(7) by collecting consumer debts from Plaintiff through means which can
reasonably be expected to abuse or harass Plaintiff.

78. Specifically, Ocwen had actual knowledge of the Debt Collection Action
and resulting Stipulation waiving the Debt, actual knowledge of Plaintiffs legal
representation with respect to the Debt, and possessed legal counsel’s name and contact
information.

79. Despite the above referenced knowledge, Ocwen continued to communicate
directly with Plaintiff by calling her Cellular Telephone without prior express consent to
do so, no less than fourteen (14) times over the past two years, to collect on the Debt despite
the fact that the Debt on the Account was waived and was no longer enforceable against
the Plaintiff via the Stipulation

80. Further, despite the parties having negotiated their differences with respect
to the Debt, and despite Ocwen’s actual knowledge that it was no longer entitled to
personally enforce the Debt, Ocwen continued to communicate with Plaintiff in an effort

to exhaust Plaintiff's remaining will.

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81. | Ocwen made each of the aforementioned phone calls in an attempt to abuse
and harass Plaintiff into believing that despite Plaintiff having retained legal counsel with
respect to the Debt, despite having received a waiver of the enforceability of the Debt
against Plaintiff, and despite Ocwen lacking Plaintiff's prior express consent to call her
Cellular Telephone using an automated telephone dialing system, that Defendant could and
would continue its Debt collection attempts until Plaintiff satisfied the waived Debt.

82. | Ocwen’s conduct served no purpose other than to annoy and harass Plaintiff
into paying the Debt when it had been waived as a result of the Stipulation thereby
eliminating any personal liability of Plaintiff with respect to the Account.

83. Ocwen’s willful and flagrant violation of, inter alia, the Florida Consumer
Collection Practices Act as a means to collect the Debt constitutes unlawful conduct and
harassment as is contemplated under Florida Statutes, Section 559.72(7).

84. As a direct and proximate result of Ocwen’s actions, Plaintiff sustained
damages as defined by Florida Statutes, Section 559.77.

COUNT TWO:
UNLAWFUL DEBT COLLECTION PRACTICE —

VIOLATION OF FLORIDA STATUTES, SECTION 559.72(9)

Plaintiff re-alleges paragraphs one (1) through seventy-six (76) as if fully restated
herein and further states as follows:

85. Ocwen is subject to, and violated the provisions of, Florida Statues, Section
559.72(9), by attempting to collect the Debt with knowledge that the alleged Debt is not
legitimate or by asserting the existence of some legal right when Ocwen knows that the

right does not exist.

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86. Specifically, Ocwen possessed actual knowledge of the Stipulation and the
waiver of the Debt contained therein.

87. | Ocwen has actual knowledge that it has no right to collect the Debt from
Plaintiff, a Debt that had been waived by virtue of the Stipulation.

88. Despite its actual knowledge that the Debt was waived and no longer
personally enforceable, Ocwen continued to attempt to collect the Debt directly from
Plaintiff by sending at least two written communications via U.S. Mail, all done in reckless
disregard of Plaintiff's right to be free from illegitimate, unlawful Debt collection attempts.

89, Defendant has sought to claim, attempt, or threaten to enforce a debt which
Defendant knows is not legitimate, or is asserting the existence of some legal right by
threatening to assess or actually assessing late charges on a Debt that has been accelerated
since July 2017, and Final Judgment entered since June 21, 2018, in contravention of
Florida law.

90. Despite its actual knowledge that the Debt was waived and no longer
personally enforceable, Ocwen continued to attempt to collect the Debt directly from
Plaintiff by contacting her on her Cellular Telephone no less than fourteen times in the past
two years, all done in reckless disregard of Plaintiffs right to be free from illegitimate,
unlawful Debt collection attempts.

91. In sum, during the course of Ocwen’s attempts to collect the Debt, it
knowingly and falsely asserted that the Debt was legitimate, and falsely asserted that it still
had the right to collect the Debt directly from Plaintiff despite possessing actual knowledge

of Plaintiffs disputes and the waiver of the Debt.

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92. As a direct and proximate result of Ocwen’s actions, Plaintiff sustained
damages as defined by Florida Statutes, Section 559.77.

COUNT THREE:
UNLAWFUL DEBT COLLECTION PRACTICE —

VIOLATION OF FLORIDA STATUTES, SECTION 559.72(18)

Plaintiff re-alleges paragraphs one (1) through seventy-six (76) as if fully restated
herein and further states as follows:

93. | Ocwen is subject to, and violated the provisions of, Florida Statues, Section
559.72(18), by communicating with a debtor when Ocwen has actual knowledge that
Plaintiff was represented by legal counsel with respect to the Debt.

94. Specifically, Ocwen received (i) legal counsel’s notice of appearance in the
Debt Collection Action;(ii) communications from Plaintiff's legal counsel negotiating the
waiver of the Debt, and (iii) the Stipulation memorializing the waiver of the Debt.

95. All of the aforementioned documents provided Ocwen with actual
knowledge of Plaintiff's legal representation with respect to the Debt and provided such
counsel’s contact information.

96. Despite Ocwen’s actual knowledge of Plaintiff's representation by legal
counsel with respect to the Debt, Ocwen continued to communicate directly with Plaintiff
in an attempt to collect the debt, by calling her cellular telephone no less than fourteen (14)
times over the past two years, all done in reckless disregard of Plaintiffs right to be free
from illegitimate Debt collection attempts.

97. | Despite Ocwen’s actual knowledge of Plaintiff's representation by legal

counsel with respect to the Debt, Ocwen continued to communicate directly with Plaintiff

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in an attempt to collect the debt, mailing no less than two (2) written communications over
the past two years, all done in reckless disregard of Plaintiffs right to be free from
illegitimate Debt collection attempts.

98. As a direct and proximate result of Ocwen’s actions, Plaintiff sustained
damages as defined by Florida Statutes, Section 559.77.

COUNT FOUR:
TELEPHONE CONSUMER PROTECTIVE ACTION —
VIOLATION OF 47 UNITED STATES CODE, SECTION 227(b)(1)(A)

Plaintiff re-alleges paragraphs one (1) through seventy-six (76) as if fully restated
herein and further states as follows:

99. | Ocwen is subject to, and has violated the provisions of, 47 United States
Code, Section 227(b)(1)(A) by using an automatic telephone dialing system, a predictive
telephone dialing system, or an artificial or pre-recorded voice to make calls to a telephone
number assigned to a cellular telephone service without Plaintiff's prior express consent.

100. Atno time did Ocwen have Plaintiff's prior express consent to make Debt
collection calls to Plaintiff on her Cellular Telephone.

101. Further, if Ocwen contends it had such consent, such consent was revoked
as a matter of law when Ocwen received: (i) notice of legal counsel’s representation of
Plaintiff with respect to the Debt in the Debt Collection Action; (ii) communications from
legal counsel negotiating the waiver of the Debt; and (iii) the Stipulation waiving the Debt.

102. Additionally, if Ocwen contends these phone calls were made for
“information purposes only,” they still lacked the required express consent necessary to

make such informational calls to Plaintiff's cellular telephone using an ATDS, a PTDS, or

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an APV.

103. Despite lacking Plaintiff's prior express consent, Ocwen made at least
fourteen (14) Debt collection phone calls to Plaintiff's Cellular Telephone using an ATDS,
a PTDS, or an APV.

104. The telephone calls made by Ocwen, complained of herein, are the result of
a repeated willful and knowing violation of the TCPA.

105. Asadirect and proximate result of Ocwen’s conduct, Plaintiff has suffered:

a. The periodic loss of her cellular phone service;

b. Lost material costs associated with the use of peak time cellular
phone minutes;

Cc. Stress, anxiety, loss of sleep, and deterioration of relationships, both

personal and professional, as a result of the repeated willful and
knowing Debt collection calls placed in violation of the TCPA to
collect the waived Debt;

d. Statutory damages; and

e. The expenditure of costs and attorney’s fees associated with the
prosecution of this matter.

COUNT FIVE:
TELEPHONE CONSUMER PROTECTIVE ACTION —

VIOLATION OF 47 UNITED STATES CODE, SECTION 227(b)(1)(A)

Plaintiff re-alleges paragraphs one (1) through seventy-six (76) as if fully restated
herein and further states as follows:

106. The conduct of Ocwen complained of herein, is the result of a repeated

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willful and knowing violation of the TCPA.

107. More specifically, as prior express consent never existed or was revoked
prior to Ocwen’s placement of calls to Plaintiff’s Cellular Telephone, and Ocwen is fully
aware of the TCPA and its restrictions, Ocwen’s calls constitute numerous and multiple
knowing and/or willful violations of the TCPA.

108. Ocwen also knows that it did not, and has not, reached out to Plaintiff to
independently obtain Plaintiff's prior express consent—oral, written or otherwise—to call
Plaintiff's Cellular Telephone using an ATDS, a PTDS and/or an APV.

109. Ocwen was also undisputedly aware of Plaintiff's representation by counsel
with respect to the alleged Debt, as well as had knowledge the Debt was eliminated, yet
knowingly and consciously made the Debt collection calls to Plaintiff's Cellular Telephone
anyway.

110. Ocwen is also fully aware of the TCPA and its restrictions and, as such,
Ocwen’s calls constitute numerous and multiple knowing and/or willful violations of the
TCPA.

111. As a result of Ocwen’s knowing and/or willful violations of the TCPA,
Plaintiff is entitled to an award of treble statutory damages, up to $1,500.00, for each and
every violation, as alleged above, pursuant to 47 United States Code, Section 227(b)(3)(B)
and 47 United States Code, Section 227 (b)(3)(C).

112. Plaintiff is also entitled to and seeks injunctive relief enjoining Defendants
from further violations of the TCPA.

PRAYER FOR RELIEF

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WHEREFORE, as a direct and proximate result of Defendant’s conduct, Plaintiff
respectfully requests an entry of:

a. Judgment against Ocwen declaring that Ocwen violated the FCCPA
and the TCPA;

b. Judgment against Ocwen for maximum statutory damages for the
violations of the FCCPA;

c. Judgment against Ocwen enjoining them from engaging in further
conduct in violation of the FCCPA;

d. Judgment against Ocwen for statutory damages in the amount of
$500.00 for each of Defendant’s telephone calls that violated the TCPA;

e. Judgment against Ocwen for treble damages in the amount of up to
$1,500.00 for each of Defendant’s telephone calls that violated the TCPA for which
Defendants acted knowingly and/or willfully;

f. Judgment enjoining Defendants from engaging in further conduct in

violation of the TCPA;

g. Actual damages in an amount to be determined at trial;

h. Compensatory damages in an amount to be determined at trial;

i. Punitive damages for violating the FCCPA in an amount to be
determined at trial;

j An award of attorneys’ fees and costs; and

k. Any other such relief the Court may deem proper.

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DEMAND FOR JURY TRIAL
Plaintiff hereby demands a trial by jury on all issues triable by right.
SPOLIATION NOTICE AND DEMAND TO RETAIN EVIDENCE
Plaintiff hereby gives notice to Defendant and demands that Defendant and its
affiliates safeguard all relevant evidence—paper, electronic documents, or data—
pertaining to this litigation as required by law.
Dated this 9" day of January 2019.
Respectfully Submitted,
THE LYONS LAW GROUP, P.A.

/s/ Rebbecca A. Goodall
Andrew M. Lyons, Esq.
Florida Bar No.: 0011288
Rebbecca A. Goodall, Esq.
Florida Bar No.: 0115344
4103 Little Road

New Port Richey, FL 34655
(727) 375-8900

(727) 375-2334 (fax)

Email Service:
pleadings@lyonslawgroup.com
Attorneys for Plaintiff,
Elizabeth Polanco

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